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IN THE UNITED STATES DISTRICT GOURT ss, DISTRICT COU
FOR THE NORTHERN DISTRICT OF TEGRTHERN DISTRICT Of Texas
AMARILLO DIVISION FILED
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JEFFREY J. GOLDSMITH §
, CLE
§ Bee U.S. DISTRICT CouRT
Petitioner, § Deputy ———
§
V. § 2:05-CV-0081
§
DOUGLAS DRETKE, Director, §
Texas Department of Criminal Justice, §
Correctional Institutions Division, §
§
Respondent. §

ORDER ADOPTING REPORT AND RECOMMENDATION
and DENYING PETITION FOR A WRIT OF HABEAS CORPUS

Petitioner has filed with this Court a petition for a federal writ of habeas corpus. On August
22, 2006, the United States Magistrate Judge issued a Report and Recommendation in this cause,
recommending therein that the instant habeas application be denied. As of this date, no objections to
the Magistrate Judge’s Report and Recommendation have been filed of record.

Having made an independent examination of the record in this case, the undersigned United
States District Judge is of the opinion the Magistrate Judge's Report and Recommendation should be,
and hereby is, ADOPTED. Accordingly, the petition for a writ of habeas corpus is hereby DENIED.

LET JUDGMENT BE ENTERED ACCORDINGLY.

IT IS SO ORDERED.

ENTERED this /, Z 4 day of 2006.
Lesher

MARY LOU ROBINSON
UNITED STATES DISTRICT JUDGE
